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 7   Elizabeth Sines,ET,AL                            CaseN o.:3:17-cv-00072-NK M

 8                  Plaintië
9    vs                                              SUBTITUTION OF ATTORN EY-CIV IL

10   JEFF SCHOEP,
11                  Defendant

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13 Form er legalrepresentative:
l4 JamesE.Kolenich,KolenichLaw OfficetPro5E)9435W aterstoneBlvd.#l4ocincinnati,OH.
     45249.
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     Form erlegalrepresentative:Elm erW oodard 5661U S-291BlairsV irginia24527
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17 New legalrepresentative:JeffSchoep PO.Box 13768Detoit,M1.48213(ProSE)
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